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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
                               Plaintiff,      )
                                               )
                       v.                      )
                                               )
JAVIER RUBI-PEDROZA,                           )              No. 12-4025-04-CR-C-BCW
                                               )
                               Defendant.      )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Javier Rubi-Pedroza, by consent, appeared before the undersigned on January
15, 2013, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule
72(c)(1)(j), and 28 U.S.C. § 636, and has entered a plea of guilty to Counts Three, Four and
Eight of the Indictment filed on March 21, 2012. After cautioning and examining the defendant,
under oath, in accordance with the requirements of Rule 11, it was determined that the guilty
plea was made with full knowledge of the charges and the consequences of pleading guilty, was
voluntary, and that the offenses to which the defendant has plead guilty are supported by a
factual basis for each of the essential elements of the offenses.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Javier Rubi-Pedroza be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 15th day of January, 2013, at Jefferson City, Missouri.


                                               /s/   Matt J. Whitworth
                                               MATT J. WHITWORTH
                                               United States Magistrate Judge




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